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Construction Products Divisian

GRACE . Industrial Chemlcols Group
, . . : , . WR. Grace & Co.
: . . 62 Whittemore Avenue

Cambridge, Mass. 62140

1617) 876-1400
’ February 14, 1980

Office of the Secretary
Consumer Product Safety Commission
Washington, D.C. 20207

-Re: Asbestos

. Gentlemen:

There follow comments of the Construction Products
Division of W. R. Grace & Co. ("Grace") in response to the
Advance Notice of Proposed Rulemaking ("ANPR") relating to
Consumer Products Containing Asbestos published in Part VI
of the October 17, 1979 issue of the FEDERAL REGISTER ("CPSC
ANPR"), as extended by CPSC FEDERAL REGISTER notice published
on December 17, 1979. Because of the interrelationship
between said CPSC ANPR and the ANPR published simultaneously
by the Environmental Protection Agency's Office of Toxic
Substances relating to Commercial and Industrial Use of
Asbestos Fibers ("EPA ANPR")., these comments. are also being
forwarded.to EPA in response to the EPA ANPR.

Many of the issues which these comments address have
previously been explored in considerable detail by various
government agencies, including CPSC and .EPA, who trom time
to time have dealt with the issue of human exposure to
asbestos fibers, and information relating to said issue may’
be found in the files of such agencies. -

Nevertheless, Grace deems it appropriate.to submit
these comments in the spirit of the Joint Statement on
Coordination of Regulatory Activities which highlighted the
desire of CPSC and EPA to avoid inconsistent or needlessly
burdensome regulations while addressing the need to reduce
unreasonable human health risk from exposure to asbestos

. fibers.

The purpose of these comments is:

(a). to address the issue of naturally occurring,
inadvertent asbestos contamination as it relates to vermiculite;

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(b) to review the uses and importance of vermiculite.
and Grace's efforts. to reduce contamination; :

(c) to oppose CPSC's proposed regulatory approach
as it relates to the asbestos contamination issue;

(d) ‘to recommend that to the extent the issue of
asbestos contamination is addressed, the resources of -
EPA be employed; and .

(e) to comment briefly upon the "generic" approach
to the question of asbestos contamination.

Inadvertent Contamination - -

"Rock types in which ‘asbestos minerals might be encountered:
lie at or near the surface. of. about 30 to 40 percent of the
Continental. United States.” 1/- Important Mineral deposits are
sometimes found in areas where asbestos materials occur and
include vermiculite, copper, gold, and talc. The inadvertent
mineral contaminant form generally associated with vermiculite
is tremolite 2/ which appears in both a fibrous and a non-fibrous

1/ Study of Adverse Effects of Solid Wastes from all mining

' activities on the Environment, prepared by PEDCo Environ-
! mental for EPA, Draft dated January 10, 1979, pp. 251 to
257. ~ 7

2/ This fact is documented in agency files.

See, e.g., EPA Report:No. EPA-650/2-74-087, Battelle
Columbus Laboratories "Identification and Assessment of
Asbestos Emissions from Incidental Sources of Asbestos",
September 1974, pp. Al33/8. This report at page 2-

also states that ‘asbestos is present as an accessory
mineral in significant quantity in ores mined in many
areas of the United States... ."

CPSC Office of Program Management Report dated March 14,
1979 containing memorandum "Asbestos in Vermiculite"
- dated January 24, 1979 from Dale Ray, HICP.

In addition, the issue of asbestos contamination in
vermiculite is known to OSHA and MSHA and was extensively
discussed with the EPA staff during the development of

the National Emission Standard for Asbestos, U.S., EPA
Regulations 40 CFR Chapter 1, Subsection 61:22 promulgated
April 5, 1973. Coe a

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form. Although it appears that only fibrous tremolite with
asbestiform characteristics is a source of concétn, the
Covernment's regulatory approach does not necessarily
distinguish between the two forms, and additional research
has been recommended in this area. 3/

Grace is a producér of vermiculite ore which if mines
neat Libby, Montana and in the vicinity of Enoree, South
Carolina. There is associated with these vermiculite
‘deposits fibrous tremolite which is subject to regulation
under the Mine Safety and Health Administration's Asbestos
Exposure Standard 30 CFR 55.5 and the OSHA Asbestos Standard
99 CFR 1910.1001. Mine worker exposure to this tremolite
contamination at Grace's Libby, Montana and Enoree, South
Carolina mills is well below the 2 fiber 8 hour TWA airborne
concentration MSHA standard. ~

Vermiculite has its greatest utility in its expanded
form, and in addition to its mining and milling operations
Grace operates 30 expanding plants in 26 states. Grace
vermiculite ore customers also operate. vermiculite expanding
. plants. Grace's expanding plants are small and, typically,
the number of employees at any one expanding plant location
is less than 12. Worker exposure to tremolite fibers at
Grace's vermiculite expanding. plants is also well below
the 2 fiber 8 hour TWA exposure limits. Because of their,
specialized nature all vermiculite expanding plants are
generally unsuited to other uses and very few non-vermicu-
lite products are manufactured by Grace at expanding pliant.
locations.

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Reduction of Contamination .

Mill Operations

Crace believes that the most effective way to reduce
asbestiform mineral contamination is to reduce it at the
source and has directed much of its efforts to this end.
Grace has expended substantial sums for new vermiculite
milling equipment at its Libby, Montana lecation which
employs new and efficient wet Flotation screening, drying,

3/ See Bureau of Mines Report of Investigations/1979,
Relationship of Mineral Habit to Size Characteristics
for Tremolite Cleavage Fragments and Fibers.

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and handling equipment to separate vermiculite from tock and
other worthless materials and contaminants and which produce.
a vermiculite ore which is free from extraneous matter and
contaminants, such as fibrous tremolite, to the maximum
extent feasible. Similar methods are utilized at the Enoree,
South Carolina milling operation.

Although the amount of contaminant materials may vary

-with ore size, Grace calculates that the methods which Grace
‘has employed to date at the milling operations have been
‘successful in reducing the amount of fibrous tremolite con-

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taminant in the vermiculite ore shipped to the processing
plants to an average approximate range of 1/2 of. 1% on a dry
weight basis. 4/ |

Expanding Operations

Grace estimates that fully more than 95% of vermiculite
ore produced is ultimately utilized in its expanded form,
primarily in commercial and industrial applications.

As part of the expansion process additional rock and
other worthless materials and contaminants are removed.

The removal process utilizes closed system aic elutriation,
and Final screening of materials as well as cyclones and bag
houses to prevent recirculation of airborne contaminants into

.-fFinished -products.. Grace calculates that on average the-
‘percent fibrous tremolite contamination is further ‘reduced

in its expansion process by more than “75%.” " For expanded ~- ~~
yermiculite products the lowest level of reliable detecta-
bility for tremolite contamination is 2/l0ths of 1% on a dry |
weight basis. Grace's expanded vermiculite products are on
the average at or below this ievel.

Expenditures

Since 1970 Grace has expended capital costs in excess
of $15 million relating to extraction of worthless materials

’-'and contamination and/or, airborne fiber reductions in its

‘the vermiculite business.

vermiculite. mining, milling, and expanding operations. This
expenditure tepresents 60% of the Construction Products
Division's calculated after tax profit on its entire vermicu-
lite business during the period 1970 to the present; it also
represents 35% of the total gross fixed assets invested in

4/ Grace utilizes the step scanning X-ray diffraction technique
to quantify the amount of fibrous tremolite contamination

in vermiculite. For a discussion of the limits of this
technique see page 13, infra. 7

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Research is continuing into the problem of vermiculite
-ore contaminant reduction and more expenditures are planned,
For example, in 1980 Grace is budgeting in excess of One-Half
Million Dollars for a new rock rejection circuit and ait
‘purification system at its Libby, Montana mill to further
reduce fibrous tremolite contamination. Experimentation is
also in ptogress utilizing "slot screening’ and other
vermiculite processing techniques. 5/ Grace believes that
these facilities and techniques when operational will
further teduce: vermiculite ore tremolite contamination by as
much as 50%.

Technological Facts, Economic
Costs, and Residual Contamination

. In the past several years Grace has made significant:
strides in the task of reducing fibrous tremolite contamina-
tion to the maximum extent feasible. The problem which
Grace now faces is twofold, i.e., technological and economic.

Minerals of the asbestos type appear as trace contami-
nants in all known commercial vermiculite deposits. To
remove all aspects of fibrous tremolite contaminants from
Crace's beneficiated vermiculite ore requires a quantum
technological breakthrough which may never be achieved. The
problem is made all the more difficult for Grace because .
-expertise and engineering know-how from other mineral mining’.
‘activities do not readily lend themselves to the unique
problems of fibrous tremolite contamination removal associated
with the mining, milling, and processing of vermiculite.
Accordingly, Grace must rely almost entirely on its own
research and development resources to deal with the problem.

Having expended significant money and effort to accon--
plish more than a 99% reduction in fibrous tremolite contami-
nation associated with vermiculite ore, Grace is now dealing
‘with the remaining residual contamination in the unexpanded
and expanded ore, a task which by its nature will be propor-
tionally more difficult when compared to the results obtained
to date.

5/ Grace considers certain.of its milling and processing: » -«..
methods to be confidential, but is willing to discuss the
same with CPSC and EPA staffs once acceptable criteria
are developed for treatment of confidential data.

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As indicated above, Grace has invested significant
capital resources and effort in an attempt. to remove fibrous
tremolite contaminants from vermiculite ore. Nonetheless,
there is no process now known which is capable of completely
eliminating all fibrous tremolite contamination from vermicu-
lite. Therefore, it is probable that some tremolite fibers
may be released during use of some vermiculite and vermiculite-
containing products. Based on the residual level of fibrous
tremolite contamination in expanded vermiculite which is at
or below the Limit of reliable detectability of accepted
detection techniques, Grace judges that any tremolite fiber
release is at extremely low levels. Grace is attempting to
quantify “said fiber release levels and will make the results
of its efforts known to CPSC.on a voluntary basis as soon as,
practicable. .

. Regulatory Proceedings. -
Reduction to the Maximum Extent Feasible

Because of the fibrous tremolite contamination associ-
ated with vermiculite, Grace has noted asbestos regulatory
‘proceedings initiated by EPA and CPSC, embodied in various
promulgations, viz., 40 CFR Chapter 1, Subsection 61:22, the

. National Emission Standard.for Asbestos,.and 42 FR 63354. |

/.- December 15, 1977), the CPSC ban on consumer" patching: =
“compounds and artificial emberizing materials containing \ . —
respirable free form asbestos. — _-.

The National Emission Standard for Asbestcs in pertinent
part permits the spraying of asbestos-containing fireproofing -
materials containing up to 1% asbestos on a dry weight basis. |
Grace believes that this standard has succeeded in eliminating
the intentional addition of commercial asbestos to spray
fireproofing products while at the same time avoiding the.
inadvertent banning of products which contain only trace

‘amounts of asbéstos. As- indicated above, the avetage per-
cent fibrous -tremolite contamination of vermiculite sold
is well within said standard.

The CPSC ban on patching compounds containing intention-
ally -added free form asbestos defined "intentionally added" as

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(1) added deliberately as an ingredient intended
to impart specific characteristics, or

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(2) contained in final product. as a result of
knowingly using a taw material containing
~ asbestos. Whenever a manufacturer finds out
that the finished product contains asbestos,
the manufacturer will be considered as
knowingly using a raw material containing
asbestos unless the manufacturer takes steps
to teduce the asbestos to the maximum extent
feasible. (Emphasis added)

Grace supports the approach taken by CPSC in the’
patching compounds rule and believes that the matters
detailed above clearly record Grace's efforts to reduce
fibrous tremolite contamination to the maximum extent
feasible.- .

Vermiculite and its Uses

General Uses

Vermiculite, because of its unique characteristics,

-lends itself to many uses. In its unexpanded state it. finds

use as a critical component in the manufacture of fire rated
gypsum drywall. In its expanded or exfoliated state it is
converted into a very lightweight, non-combustible, free
flowing; insoluble, chemically inert, tesilient, and non-...
abrasive material with excellent ion exchange capabilities.
These qualities make expanded vermiculite useful in construc-
tion, horticulture,-and insulation applications, and include
consumer type uses such as attic insulation, protection

for the base of vinyl-lined, above ground swimming pools.
("pool.cushion"), use as a carrier for lawn fertilizer and
as a horticultural mix component in potting soils, and
miscellaneous other applications. The more extensive uses
of vermiculite can be categorized.as follows:

(i) Energy Consetvation.---Today-there is great
‘emphasis being placed on construction methods and
fire safety. Vermiculite is an inorganic insulating
material, and as a natural material its production
is not as energy intensive as most other insulating
products, many of which ate made. from synthetic
materials or which utilize petroleum derivatives.

Vermiculite has several properties which are
unique in relation to the most commonly used
insulating materials such as mineral fibers,

cellulose fibers, ot plastic foam insulating

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materials. These are as follows:

- A. Non-combustibility and permanence in most
applications. Vermiculite is used not only
for its insulating properties, but to pro-
vide fire safety features as well.

B. Ability to be mixed uniformly with cements
such as gypsum and portland cement.

These unique properties lead to important use in
a number‘of construction and insulation applica-
7" tions including the following:

1. As an aggregate to produce insulating
concrete for use primarily in commercial
roof insulation systems. These systems
provide good energy saving performance 4s.
well as fire resistance characteristics. ©

2. As an effective loose fill insulating
material for attic spaces and masonry
block walls which in both applications
provides long Lasting and non-combustible
insulating performance. .

(ii) Life Protection. Vermiculite is used in the
Manufacture of a structural fireproofing material
called "Mono-Kote", used to help protect Che

structural steel members of high rise buildings.

‘Vermiculite, a.Ieading material in this
application, is uniquely suited. to this purpose
because it: combines insulating qualities with
non-combustion characteristics. Both of these
- +. . properties are necessary to protect structural
steel -from deforming -in the event-of fire.
Vermiculite-based structural fireproofing which
is applied in wet slurry form is one of a few
materials which meets fire code requirements, and
in many cases is the structural insulation of
choice. -Its elimination from the market would wre
have a serious unfavorable impact on the construc-
tion industry in the United States. Other
“yermiculite products are used as fireproofing
coatings on cellular plastic type products used
in the construction industry. Beyond the impor-
- tance of.-vermiculite as a critical component lfhoe

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in Grace's structural steel fireproofing material,
vermiculite is used as a critical component of a
mine sealant which is used for the prevention of -
dangerous roof rock spalling in coal mines. As
indicated above, it is also used in fire rated >
drywall materials. Drywall is in universal use

in construction today as a low-cost, efficient
building material. .

(iii) Horticultural and Aericultural Uses. Vermiculite
is used as an horticultural aggregate and is
unique in that its physical air/water relation-—

-. ghips.are conducive to optimum plant growth.
Vermiculite due to its intrinsic, unusual chemicel
composition contains and slowly releases nutrients
(potassium, magnesium and calcium). Vermiculite
has good pH buffering characteristics, and
supplies cation exchange capacity. In other

-+; applications vermiculite acts as a carrier for

fertilizer and herbicides. It is uniquely suited
for this application in that substitute materials
do not have vermiculite's advantage of being able
to absorb these materials and slowly release them
to the soil. As a soil conditioner vermiculite,

a natural: material, provides for ion exchange,

‘ct. aeration and moisture retention.

_ Vermiculite is also utilized in greenhouse
growing media as a presterilized substitute for
natural topsoil. Natural topsoil is becoming
increasingly scarce and must itself be sterilized,
a substantially energy intensive process. Further,
‘harvesting soil for horticultural use is: detri-
mental to the environment because it results in
stripping land of fertile soil with consequent -
ecological upset. Sterilized growing media are
becoming of greater importance in the need to
increase food production by growing plants and
vegetables under controlled conditions.

Consumer Uses

As indicated above, expanded vetmiculite is used in
various consumet ctype applications. Expected patterns of
use relating to vermiculite directly marketed by Grace for
such applications are as follows:

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- (i) Attic Insulation. In general, the consumer user
of vermiculite as a loose fill attic insulation
will purchase vermiculite in quantities of from
. 10 to 100, 3 cubic foot size bags. Smatl quantities
--- ate purchased for filling voids such as atound
water pipes to keep them from freezing. Larger
quantities are usually used to insulate over
existing insulation.

It is estimated that the average house in
which vermiculite is used for attic insulation
is 30 years old..The application may be completed
. ae > + dn one session or in several. Typically,
however, the total time which is involved in
actually:placing vermiculite over existing ©
insulation will average two hours. Once the
insulation is in place it is likely to remain
undisturbed for the remaining life of the house.
- It is unlikely: that any individual involved in
‘insulating a home with vermiculite would repeat
the procedure in a subsequently acquired dwelling
more than one or two additional times.

(ii) Pool Cushion. Use of vermiculite for protection
ot of the base of .vinyl-lined above ground swimming
Jiu =peols is carried on out-of-doors and, typically,-....
involves use of no more than 3 to 12, 4 cubic -

foot size bags of vermiculite depending on the

size of the pool. :

(iii) Horticultural Vermiculite. Use of vermiculite
for preparation oi potting soil is typically
carried on out-of-doors or in a potting shed,
and involves. mixing peat moss with vermiculite.
‘Typically,-it would be expected that a 16 quart

bag of vermiculite would be utilized by a person

-- “++ piaking up his or her own potting soil. More
often potting. soil is. purchased in 16 quart or 8
quart bags in which vermiculite has been premixed
with peat moss and plant nutrients.

Alternative Uses

Materials alternate to vermiculite for the foregoing
and other applications (where such materials are available)
are likely to entail higher net cost to the users and, in
many instances, are not effective substitutes. Also,
responsible authorities have alleged that health risks may

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be associated with substitute materials 6/ such as glass
fiber alternatives to vermiculite-based insulation materials
and sprayed mineral fiber alternatives to Mono-Kote.

CPSC's Regulatory Apptoach

Vermiculite Mining

Grace's vermiculite business directly employs 1311
people at locations in over 26 states and accounts for an
annual payroll of approximately $21.5 Million. It is also
the source of further employment throughout the construction
and horticultural industries. :

Vermiculite is mined in five different size gradations
at the Libby, Montana location varying from coarse to fine
(size 1 down to size 5), and at Enoree, South Carolina in
three sizes, mostly medium to fine (size 3 down to size 5).
The nature of the ore bodies makes it impossible to mine one
ore size and not another. All ore sizes are not interchange-
able in their use in production of finished product, sone
sizes being suitable for one use and not another. ‘For
example, coarse sizes are better suited to horticultural or
insulation uses than finer sizes, whereas medium sizes are
more. suited to use.as concrete aggregates or in fireproofing
materials. Accordingly, the availability of one size ore .
for -one use such as a fireproofing use is dependent on = = ** —
Grace's ability to market other sizes for other uses. With-
out substantial outlets for all sizes of vermiculite an
unmanageable vermiculite ore size imbalance would rapidly
occur at the mines which eventually would have a substantial
and adverse economic impact on the overall ability of Grace
to continue the supply of vermiculite. In sum,.burdening
vermiculite sold with the unavoidable costs of producing
vermiculite not sold could ultimately make the price-of

-Grace's vermiculite prohibitive, thus rendering it economi- -.-..-

cally unavailable for all uses.

Accordingly, if the regulatory..approach proposed by
CPSC of eliminating products "from which fibers are released” .
is carried forward to its logical conclusion, one could

-Foresee a situation where any level; -however infinitesimal,.

of asbestos contamination could: result in banning of |

6/ See the work of Stanton and Pott. cited in the EPA ANPR.

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‘yermiculite use, particularly those uses devoted to consumer
type applications. Although less than 10% .of all vermiculite
sold by Grace is marketed directly by Grace for consumer
use, a banning of such use, along with the marketing impact
such a ban would have on other uses of vermiculite, would
have a material effect on vermiculite ore balance with its

- attendant adverse consequences. ’ ,

Another troublesome concern presented by CPSC's proposed
regulatory approach to act against uses of asbestos without
benefit of a quantitative assessment is that many mineral
substances contain trace amounts of naturally occurring
mineral fibers which come within the definition of “asbestos.” -
As has been stated above, "rock types in which asbestos
minerals might be encountered lie at or near the surface of
about 30 to 40 percent of the Continental United States." 7/
Even drinking water may contain asbestos fibers resulting
from natural contamination. Therefore, materials which
contain mineral ingredients may well contain at least trace
‘mounts of asbestos fibers with the tisk that some asbestos
fiber release may occur. Indeed, given CPSC's and EPA's
knowledge that asbestos is a ubiquitous contaminant matet-
ial, CPSC's proposal is at best impractical, and would
make suspect thousands of products, embroiling CPSC in a’
regulatory enforcement quagmire.

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Le Need for Quantitative Assessment —

Any rule which did not include a requirement for
quantitative assessment would be of dubious enforceability

and could well result in the unintended outlawing of many ~:~.

products and materials which contain only trace amounts of
asbestiform minerals. EPA faced this very dilemma in its.
formulation of the National Emission Standatd for Asbestos
and prudently included a quantitative 1% asbestos content
dry weight basis as the base point for permitting use of _
sptay applied fire proofing materials. é

Insofar as Grace is aware, this action has had the
intended effect of banning the use of commercial asbestos in
spray applied fireproofing materials without banning the use
of other materials containing trace asbestiform mineral con-
taminants. It also provided EPA with an enforceable stand-
ard and industry with a reasonable and achievable standard
while reducing unreasonable tisk of injury. The

7/.See page 2, supra.

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‘quantitative threshold approach: clearly lends itself to

dealing with the contamination issue.

_ Ef’ CPSC believes it necessary to go beyond the “inten-
tionally added" standard applicable to consumer patching com-
pounds which requires the reduction of asbestos content in
product component materials "to the maximum extent feasible”,
it must adopt a reasonable and achievable quantitative
asbestos contamination level.

Limits of Asbestiform Mineral Detectability

- .-r Grace -and -others utilize the step scanning X-ray dif-

fraction technique to quantify the amount of fibrous tremo-
lite contamination associated with both vermicutite and
yermiculite-containing products. This accepted and sophisti-
cated technique, which is accurate in quantification of
fibrous tremokite contamination to a level of 1% on a dry
weight basis, becomes subject to error below the 1% level,

‘and the error factor increases the closer one approaches

the limits of detecticn of this technique which appear to be

in the range of 2/10ths of 1%.

Grace, by various and detailed analytical procedures,

»: has-been able to assure itself that the percent concentra-

tions of fibrous tremolite contamination associated with its
expanded vermiculite products range from a peint substan-
tially below 1% down to the limits of detectability of this
technique. Grace believes, however, that any quantitative
assessment Limit less than 1% would be subject to error.
factors which would pose enforcement problems for CPSC as
well as impinge upon available CPSC resources.

CPSC has itself recognized the detection problem and
is awate of the extraordinary difficulty and expense —
involved with asbestos test methodology. 8/ To date CPSC

as chosen not to acquire a detection capability. ‘Grace

believes this to be a proper course which should remain
unchanged given the in place resources and capabilities
available at EPA. This course is also consistent with the
need to avoid duplication in government facilities.

8/ See CPSC Staff Memorandum to Chronic Hazards Team from

~ Gale D. Wyer, Director, ESHC, Comments on 2/13/78 David |
W. Baker Memo, "Determination of Free Asbestos in Patching
Formulations and Emberizing Products” and test methodology.

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To the extent that CPSC would need technical support in |
considering an appropriate quantitative contaminant level,
dt should look to EPA which by reason of statutory mandate,

resources and available expertise seems better positioned to
‘ provide such support. :

Generic Approach

When dealing with the issue of naturally occurring
asbestos contamination, a genetic approach, in the sense of
establishing a percent contamination level, merits considera-
tion. Especially is this so where good enforcement practice
as well as social and economic realities rule out a zero
standard and dictate setting a realistic, measurable, and
achievable contaminant standard.

Respect fully submitted,

W. R. Grace & Co. . .
Construction Products Division

” Bw R. Williams, Vice President

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ec/ Mrs. Joni T. Repasch
Record Clerk
Office of Toxic Substances (TS-793)
U.S. Environmental Protection Agency
401 M Street, S.W. -
Washington, D.C. 20460 .
Docket No., OTS-61005 -
